     Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 1 of 54



                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS           )
CORPORATION, et al.,                  )
                                      )
                                      )
          Plaintiffs,                 )
                                      )
    v.                                )
                                      )          Case No. 8:16-cv-860
FINANCIAL INDUSTRY                    )
REGULATORY AUTHORITY, INC.,           )
                                      )
                                      )
                                      )
                                      )
             Defendant.               )
                                      )

                          EXHIBIT B – FINRA Complaint

      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
     FOR PRELIMINARY INJUNCTION AND PERMANENT INJUNCTION
         Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 2 of 54



            FINANCIAL INDUSTRY REGULATORY AUTHORITY (FINRA)
                          NOTICE OF COMPLAINT

                                                Disciplinary Proceeding No. 2014041724601
                                                Date: May 15, 2015

TO:            Kevin J. Harnisch, Esq.
               Steptoe & Johnson LLP
               1330 Connecticut Avenue, NW
               Washington, DC 20036

               (Counsel for Respondents Scottsdale
               Capital Advisors Corporation, John
               J. Hurry, Timothy B. DiBlasi and D.
               Michael Cruz)

FROM:         FINRA District No. 8
              Department of Enforcement
              55 West Monroe St., Suite 2600
              Chicago, IL 60603


You are notified that a Complaint has been issued by the Department of Enforcement, a copy of

which is attached, alleging that Scottsdale Capital Advisors Corporation, John J. Hurry, Timothy

B. DiBlasi and D. Michael Cruz ("Respondents") have violated certain FINRA Rules and NASD

Rules.



All individual Respondents named in this proceeding are reminded of the requirement to update

immediately their Uniform Application for Securities Industry Registration or Transfer (Form

U4) upon receipt of this Notice of Complaint to reflect that they have been named a Respondent

in this Complaint. Any firm named in this proceeding is reminded of the requirement to update

immediately its Uniform Application for Broker-Dealer Registration (Form BD) upon receipt of

this Notice of Complaint to reflect that it has been named a Respondent in this Complaint. In
          Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 3 of 54



addition, you are required during the pendency of this proceeding to notify immediately this

office and the Office of Hearing Officers, in writing, of any change in your address.



ANSWER: Pursuant to Rules 9215 and 9138 of FINRA’s Code of Procedure, you are required

within 28 days after the date of mailing, i.e., no later than June 12, 2015, to answer this

Complaint, in the manner and form described by FINRA Rule 9215, and to serve your Answer to

the Complaint on all other parties pursuant to FINRA Rule 9133. Service of your Answer to the

Department of Enforcement should be made to Dean M. Jeske, Deputy Regional Chief Counsel,

at the address referenced above. At the time of such service upon all parties, you are also

required to file the signed original and one copy of your Answer with the Office of Hearing

Officers pursuant to FINRA Rules 9135, 9136, and 9137. Filing of your Answer with the Office

of Hearing Officers should be directed to the Office of Hearing Officers, FINRA, 1735 K Street,

N.W., 2nd Floor, Washington, D.C. 20006, telephone (202) 728-8008, or you may file your

Answer electronically: OHOCaseFilings@finra.org. Papers are deemed timely filed with the

Office of Hearing Officers if received by the Office of Hearing Officers within the specified time

period.



The Answer must admit, deny or state that Respondents do not have or are unable to obtain

sufficient information to admit or deny each allegation in the Complaint. Any affirmative

defense must be stated in the Answer. Pursuant to FINRA Rule 9215(c), if you file a motion for

a more definite statement, it must accompany your Answer.




                                                  2
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 4 of 54



Pursuant to FINRA Rule 9221, your Answer must specifically state whether Respondents request

a hearing on the allegations of the Complaint or whether they waive a hearing. The Office of

Hearing Officers will later notify you of the hearing date and location. If Respondents waive a

hearing, a hearing may nevertheless be ordered pursuant to FINRA Rule 9221(b) or (c). If no

hearing is ordered, the Office of Hearing Officers will notify you concerning your opportunity to

submit documentary evidence for consideration.



If the Complaint alleges at least one cause of action involving a violation of a statute or rule

described in FINRA Rule 9120(u) relating to the quotation of securities, execution of

transactions, reporting of transactions or other specified trading practice rules, you may propose

that the Chief Hearing Officer select one of the panelists for your hearing from the Market

Regulation Committee.



INSPECTION AND COPYING OF DOCUMENTS IN POSSESSION OF STAFF: You are

hereby advised that, pursuant to FINRA Rule 9251, unless otherwise provided, no later than 21

days after the filing date of your Answer (or, if there are multiple Respondents, not later than 21

days after the filing of the last timely Answer), the Department of Enforcement shall commence

making available for inspection and copying by any Respondent, certain documents prepared or

obtained by the Department of Enforcement in connection with the investigation leading to the

institution of these proceedings. In that regard, contact Dean M. Jeske at (312) 899-4353 to

make arrangements. Please note that a Respondent shall not be given custody of the documents

or be permitted to remove them from the offices of FINRA. However, a Respondent may obtain




                                                  3
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 5 of 54



a photocopy of any documents made available for inspection; the Respondent shall pay the cost

of any such copying of documents.



OFFER OF SETTLEMENT: Pursuant to FINRA Rule 9270, you may propose a written Offer of

Settlement at any time. You may obtain the required format from the above-named staff

attorney. Discussions with the staff concerning possible settlement or the submission of an Offer

do not relieve you of the obligation to timely file an Answer to the charges.



PRIMARY DISTRICT COMMITTEE: The Department of Enforcement has proposed District

No. 2 as the Primary District Committee for this proceeding. You may propose the same or

another District as the Primary District Committee for this proceeding, with the filing of your

Answer. The Office of Hearing Officers will designate, pursuant to FINRA Rule 9232(c), the

Primary District Committee.



PROPOSED HEARING LOCATION: The Department of Enforcement has proposed Los

Angeles, California as the appropriate location for any hearing in this proceeding. Pursuant to

FINRA Rule 9221, you may propose an appropriate location for any hearing, with the filing of

your Answer. The assigned Hearing Officer will designate, pursuant to FINRA Rule 9221(d), the

location of any hearing.



REPRESENTATION: Pursuant to FINRA Rule 9141, any Respondent may be represented by an

attorney. Alternatively, an individual may appear on his own behalf; a member of a partnership




                                                 4
         Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 6 of 54



may represent the entity; and a bona fide officer of a corporation, trust or association may

represent the entity.



NOTICE OF APPEARANCE: You are advised that the Department of Enforcement is

represented in this matter by:

Dean M. Jeske, Deputy Regional Chief Counsel
FINRA Department of Enforcement
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                                                 5
         Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 7 of 54


GOVERNING RULES: You are directed to FINRA Rule 9000, et seq.,


http://fima.complinet.com, for additional pertinent rules governing these proceedings.




                                                    Dean M. Jeske
                                                    Deputy Regional




Enclosure: Complaint and Schedules A-C




                                                6
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 8 of 54



                 FINANCIAL INDUSTRY REGULATORY AUTHORITY
                        OFFICE OF HEARING OFFICERS


DEPARTMENT OF ENFORCEMENT,

                      Complainant,

 v.

SCOTTSDALE CAPITAL ADVISORS
CORPORATION
(CRD No. 118786),
                                                  DISCIPLINARY PROCEEDING
JOHN J. HURRY                                     NO. 2014041724601
(CRD No. 2146449),

TIMOTHY B. DIBLASI
(CRD No. 4623652),

and

D. MICHAEL CRUZ
(CRD No. 2450344),
                      Respondents.

                                         COMPLAINT

       The Department of Enforcement alleges:

                                          SUMMARY

       1.      Between December 1, 2013 and June 30, 2014 (the “Relevant Period”), Scottsdale

Capital Advisors Corporation (“Scottsdale” or the “Firm”) liquidated over 74 million shares of

three microcap stocks—Neuro-Hitech Inc. (“NHPI”), Voip Pal.com (“VPLM”), and Orofino

Gold Corp. (“ORFG”)—that customer CSCT deposited into its account at the Firm. The shares

were not registered with the SEC, nor were the sales exempt from registration. From the illegal

sales, CSCT generated over $1.7 million in proceeds for its customers.

       2.      John J. Hurry, through his ownership and control of CSCT, a Cayman Islands

broker-dealer, was a necessary participant and substantial factor in the violative sales. CSCT,
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 9 of 54



through Hurry’s direction, became a customer of Scottsdale, established accounts and

subaccounts for its customers on whose behalf CSCT deposited over 650 million shares of

microcap stocks, and liquidated nearly 145 million shares, generating proceeds of approximately

$5.5 million.

       3.       Hurry established CSCT in the Cayman Islands to make it an attractive

intermediary for individuals engaged in the high-risk microcap stock liquidation business

through foreign financial institutions. Given its location, CSCT’s securities business was not

subject to regulation by the Cayman Islands and could benefit from Cayman Islands’ secrecy

laws that shielded its customers’ identities from disclosure. By allowing individuals to run their

microcap stock liquidation business through CSCT and then through Scottsdale and its clearing

firm, Alpine Securities Corporation (“Alpine”)—three entities which Hurry indirectly owned and

over which he could exercise control—Hurry was able to have their suspect microcap

liquidations facilitated by his trio of broker-dealers, without the scrutiny that the transactions

demanded. Hurry also intentionally and unreasonably delegated supervisory responsibility for

CSCT’s high-risk microcap stock liquidation business to an individual who had no prior

securities industry experience. CSCT generated over $170,000 in revenue for Scottsdale during

the Relevant Period.

       4.       The activity in CSCT’s account at Scottsdale followed a standard pattern. A third

party loaned funds to an issuer of microcap stock, and, through a series of transactions, the loan

was converted to shares of stock by a foreign corporate customer of a foreign corporate customer

of CSCT. Shortly thereafter, CSCT deposited the shares, which often were in certificate form,

into its account at Scottsdale for the benefit of the customer of its customer, liquidated the shares

shortly after depositing them, and wired the proceeds out of its account shortly after the sales.



                                                  2
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 10 of 54



       5.      By engaging and participating in sales of securities that were not registered with

the SEC, in transactions that were not exempt from registration, Scottsdale acted in

contravention of Section 5 of the Securities Act of 1933 (“Section 5”), and thus violated FINRA

Rule 2010. By being a necessary participant and substantial factor in the sales, Hurry likewise

acted in contravention of Section 5, and thus violated FINRA Rule 2010.

       6.      In addition, during the Relevant Period, Scottsdale, through its Chief Compliance

Officer (“CCO”), Timothy B. DiBlasi, failed to establish and maintain a supervisory system,

including written supervisory procedures (“WSPs”), reasonably designed to achieve compliance

with Section 5 for sales of unregistered shares of microcap stocks. The Firm’s supervisory

system for such sales was deficient because: (a) the WSPs provided insufficient guidance on

identifying the true beneficial owners of microcap stocks sold for customers introduced through

foreign financial institutions, such as CSCT; and (b) the procedures for conducting a reasonable

inquiry of the circumstances surrounding deposits and sales of microcap stocks for such

customers relied too heavily on information obtained from interested parties, and also failed to

require that the inquiry include appropriate independent due diligence and analysis of the

claimed registration exemptions. As a result of the foregoing, Scottsdale and DiBlasi violated

NASD Rule 3010(a), (b) and FINRA Rule 2010.

       7.      Further, during the Relevant Period, Scottsdale, through its President/Approving

Principal, D. Michael Cruz, failed to conduct reasonable inquiries into the circumstances

surrounding the illegal sales of NHPI, VPLM, and ORFG stock by Scottsdale for CSCT. Cruz

performed inadequate inquiries on the claimed registration exemptions for sales of the three

microcap stocks, despite the presence of numerous “red flags” suggesting that the sales were, or

could be, illegal distributions of unregistered stocks. Although Cruz collected some documents



                                                3
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 11 of 54



and information on the deposits and sales, he failed to adequately and meaningfully analyze the

collected documents and information—some of which were inconsistent and incomplete—and

also failed to independently verify the provided information. In reality, his collection efforts

merely served to “paper the file” for the suspect microcap stock liquidation business being run

through the trio of broker-dealers indirectly owned by Hurry. As a result of the foregoing,

Scottsdale and Cruz violated NASD Rule 3010(b) and FINRA Rule 2010.

                            RESPONDENTS AND JURISDICTION

                               Scottsdale Capital Advisors Corp.

       8.      Scottsdale is a retail and institutional broker-dealer. It is a FINRA member and

has been a member since May 2002.

       9.      The Firm is headquartered in Scottsdale, Arizona. It has a single branch location

and approximately 15 registered persons, all of whom work from its office in Scottsdale.

       10.     Scottsdale’s principal business is the deposit and liquidation of penny stocks for

its customers. During the Relevant Period, transactions involving penny stocks accounted for

most of the Firm’s revenue, as over 95 percent of the transactions that Scottsdale executed for its

customers involved penny stocks.

       11.     Under Article IV of the FINRA By-Laws, FINRA possesses jurisdiction over

Scottsdale because: (a) it currently is a FINRA member; and (b) the Complaint charges it with

securities-related misconduct committed while it was a FINRA member.

                                          John J. Hurry

       12.     In June 2001, Hurry formed Scottsdale. Hurry and his wife indirectly own the

Firm through their creation of, and control over, various entities. They receive the profits from

Scottsdale through payments to a trust that they own and control.



                                                 4
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 12 of 54



       13.     Hurry is a director of Scottsdale. He has the authority to hire and fire its

personnel. Hurry also closely monitored the Firm’s financials.

       14.     Hurry entered the securities industry in May 1991. He was associated with

several FINRA members from May 1991 through April 2002.

       15.     In January 2002, Scottsdale filed an initial Form U4 for Hurry. In December

2012, Scottsdale filed a Form U5 for Hurry.

       16.     From January 2002 through the present, Hurry has been a director of Scottsdale

and has been listed in that capacity on the Schedule A of the Form BD of the Firm. From

January 2013 through the present, Hurry also has been a director of Alpine and has been listed in

that capacity on the Schedule A of the Form BD of Alpine, a FINRA member that Hurry

indirectly owns, which clears trades for Scottsdale.

       17.     In October 2014, Scottsdale and Alpine both filed Form U4s for Hurry. He

currently is registered with FINRA through each firm in several capacities, including as a

General Securities Representative (“GSR”) and General Securities Principal (“GSP”).

       18.     Under Article V of the FINRA By-Laws, FINRA possesses jurisdiction over

Hurry because: (a) he currently is associated with two FINRA members and registered with

FINRA; and (b) the Complaint charges him with securities-related misconduct committed while

he was a person associated with two FINRA members by virtue of being a director of both

Scottsdale and Alpine.

                                       Timothy B. DiBlasi

       19.     DiBlasi entered the securities industry in December 2002. He subsequently

acquired Series 6, 7, 24, 27, 53, and 63 licenses. From December 2002 through March 2012,

DiBlasi was associated with a FINRA member.



                                                 5
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 13 of 54



       20.     On April 9, 2012, Scottsdale filed a Form U4 for DiBlasi, commencing his

association with it as of that day. DiBlasi has been associated with the Firm since that day. He

currently is registered with FINRA through Scottsdale as, among other things, a GSR, GSP,

Financial and Operations Principal, and Municipal Securities Principal.

       21.     Under Article V of the FINRA By-Laws, FINRA possesses jurisdiction over

DiBlasi because: (a) he currently is associated with a FINRA member and registered with

FINRA; and (b) the Complaint charges him with securities-related misconduct committed while

he was associated with a FINRA member and registered with FINRA.

                                        D. Michael Cruz

       22.     Cruz entered the securities industry in January 1994. He subsequently acquired

Series 7, 24, and 63 licenses. At various times from January 1994 through May 2008, Cruz was

associated with four FINRA members.

       23.     On May 20, 2008, Scottsdale filed a Form U4 for Cruz, commencing his

association with it as of that day. Cruz was registered with FINRA through Scottsdale as, among

other things, a GSR and GSP from May 2008 through January 29, 2015, when Scottsdale filed a

Form U5 for Cruz, terminating his registrations and association with the Firm as of that date.

       24.     Upon information and belief, Cruz serves as the General Counsel for the holding

companies that own Scottsdale and Alpine.

       25.     Although Cruz is no longer registered or associated with a FINRA member, he

remains subject to FINRA’s jurisdiction for purposes of this proceeding, pursuant to Article V,

Section 4 of FINRA’s By-Laws, because: (a) the Complaint was filed within two years after the

effective date of termination of Cruz’s registration with Scottsdale, namely, January 29, 2015;




                                                6
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 14 of 54



and (b) the Complaint charges him with securities-related misconduct committed while he was

registered or associated with a FINRA member.

                         FACTS COMMON TO CAUSES OF ACTION

        Hurry’s Establishment of CSCT as a Haven for Microcap Stock Liquidators

       26.     In 2013, Hurry established CSCT in the Cayman Islands.

       27.     Hurry caused documents to be filed with the Internal Revenue Service (“IRS”) to

establish CSCT as a qualified intermediary—a foreign intermediary that has entered into a

qualified intermediary withholding agreement with the IRS. This status permits Scottsdale to

liquidate microcap stocks for foreign financial institutions and their customers through CSCT,

without obligating Scottsdale or its clearing firm, Alpine, to complete certain IRS documents.

       28.     Hurry chose to establish CSCT in the Cayman Islands to make the entity an

attractive intermediary for individuals engaged in the high-risk microcap stock liquidation

business through foreign financial institutions.

       29.     Under Cayman Islands law, CSCT is obligated to maintain the confidentiality of

information regarding its customers, absent authorization from a customer or a directive from the

Grand Court of the Cayman Islands, which the Court does not freely direct.

       30.     Further, under Cayman Islands law, CSCT could, and did, claim exemption from

certain regulation by the Cayman Islands Monetary Authority, which, among other things,

regulates and supervises the country’s financial services industry. In a May 17, 2013 letter, the

Cayman Islands Monetary Authority instructed CSCT that it “should not expressly or by

implication represent to clients or potential clients that they are subject to regulation by the

Cayman Islands Monetary Authority with respect to its securities investment business.”




                                                   7
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 15 of 54



       31.     Since its inception, CSCT, on behalf of the customers of its four customers (MS,

UIS, TIS, and DC) (collectively, the “Customers of CSCT”), has deposited over 650 million

shares of microcap stocks in its account at Scottsdale, and liquidated nearly 145 million of those

shares, generating proceeds of approximately $5.5 million for its customers. In total, CSCT paid

over $170,000 in commissions and fees to Scottsdale in connection with all of its business at the

Firm during the Relevant Period.

                                   Hurry’s Control over CSCT

       32.     In an attempt to distance himself from CSCT and its high-risk business, Hurry

appointed GR—who had no securities industry experience—as the sole Director of CSCT. This

appointment allowed Hurry not only to control CSCT, but also to create the appearance that

CSCT was controlled by someone else.

       33.     Hurry installed GR to serve as the Director of CSCT, thereby allowing customers

that Hurry directed to CSCT to deposit shares of microcap stocks with, and liquidate them

through, CSCT, predominantly without being questioned by the inexperienced GR.

       34.     Hurry also inadequately funded CSCT and unreasonably expected GR, who

lacked basic computer skills, to establish and implement systems and procedures for CSCT.

       35.     Hurry prospected for, and obtained all of, CSCT’s customers. Hurry, not GR,

travelled to Central America to meet with three future CSCT customers (UIS, MS, and TIS)—

two of whose activities form the basis of the Section 5 charge.

       36.     Hurry maintained day-to-day control over CSCT through frequent video calls and

electronic correspondence with GR and at least one other CSCT employee.

       37.     Hurry requested and received frequent updates from GR regarding CSCT’s stock

deposits, business prospects, revenue, and expenses.



                                                8
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 16 of 54



       38.     Hurry approved CSCT’s fee and commission schedules.

       39.     Hurry had the authority to hire and fire CSCT’s personnel, and he exercised that

authority.

       40.     Hurry and his wife indirectly are entitled to receive all of CSCT’s profits.

       41.     Hurry controlled CSCT.

                     The “Red Flags” Raised by the Customers of CSCT

       42.     Following phone calls and/or in-person meetings with Hurry, the Customers of

CSCT opened accounts at CSCT. All four entities were located either in Belize or Panama—

countries of primary money laundering concern.

       43.     Each of the Customers of CSCT also established subaccounts at CSCT for the

benefit of their respective customers. In total, the Customers of CSCT maintained 27

subaccounts, most of which were for entities located in Belize.

       44.     Through the subaccounts, the true beneficial owners of any shares of microcap

stocks deposited at, and liquidated through, Scottsdale were obscured by at least three layers—

CSCT, the Customers of CSCT, and the customers of the Customers of CSCT (which may have

been owned and controlled by individuals or other entities).

                                       CSCT Customer MS

       45.     MS, a Panamanian broker-dealer, maintained an account at CSCT, and deposited

and liquidated shares of microcap stocks on behalf of its customers through CSCT’s account at

Scottsdale. Some of MS’s liquidations through CSCT’s account at the Firm violated Section 5.

       46.     Based on information available to CSCT and Scottsdale, MS appeared to operate

through nominees (i.e., individuals or entities whose names were provided to CSCT as the

beneficial owners of MS, but who were not, in fact, the true beneficial owners of MS) to obscure



                                                 9
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 17 of 54



its true beneficial owner(s). MS’s owners (which also are referred to as subscribers in certain

documents due to their purchase of MS stock through subscription agreements) were identified

on account documents as CEWD and ASW. Information publicly available on the internet

identified CEWD as an attorney for a Panamanian law firm and ASW as a subscriber/owner of

approximately 150 companies.

        47.    In addition, after MS opened its account, CSCT received a call from someone at

MS asking to journal a cleared position from Scottsdale to CSCT. GR relayed the request to

Cruz at Scottsdale, referring to “[F], the head honcho, at [MS].” Information on MS provided by

GR to Scottsdale, however, did not identify anyone with F’s name as being affiliated with MS.

Based upon the reference to F as MS’s “head honcho,” F may have been the true beneficial

owner of MS. Scottsdale did not identify or investigate this “red flag” regarding F’s possible

ownership of MS, and therefore could not ascertain whether the liquidations of microcap stocks

for MS and its customers, including VPLM stock (discussed below), were effected by affiliates

of issuers.

        48.    In January 2014, MS emailed GR about MS’s anticipated deposits and

liquidations of thinly traded microcap stocks. Specifically, MS wanted to know whether CSCT

had volume restrictions on trading microcap stocks, whether CSCT had a limitation on the daily

volume of a given stock that it could trade, and the identity of the market makers that CSCT

used. GR forwarded these questions to Cruz at Scottsdale, because GR, by his own admission,

lacked the experience to answer them.

        49.    On March 19, 2014, TT contacted Scottsdale and represented that he was an

attorney, represented MS, and was authorized to speak to the Firm on behalf of MS. TT asked

Scottsdale to contact him regarding an urgent deposit of shares of a microcap stock. At the time,



                                                10
         Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 18 of 54



based on CSCT’s account documents, Scottsdale was, or should have been, aware that TT was

not only acting on behalf of MS, but also was listed as the Money Laundering Reporting Officer

for CSCT and assisted with establishing CSCT’s anti-money laundering procedures.

        50.      On January 8, 2014, an MS employee sent an email to GR that identified the

employee as having U.S. telephone numbers. Because CSCT was only supposed to deal with

non-U.S. citizens, this email should have raised questions about the propriety of CSCT’s

business for MS at or around the same time that CSCT deposited stock in its account at

Scottsdale for the benefit of MS and its customers.

        51.      All of these circumstances should have raised questions for Scottsdale about the

propriety of CSCT’s microcap stock liquidations for MS and its customers.

                                        CSCT Customer UIS

        52.      UIS, a broker-dealer based in Belize City, Belize, maintained an account at

CSCT, and deposited and liquidated shares of microcap stocks on behalf of its customers through

CSCT’s account at Scottsdale. Some of UIS’s liquidations through CSCT’s account at the Firm

violated Section 5.

        53.      UIS’s publicly available website marketed its service of providing nominees for

its customers to maintain confidentiality, explaining that a nominee officer or director is “an

appointed person who will act as an officer or director on [the customer’s] behalf, giving [the

customer] an extra level of confidentiality as [the customer’s] name will not show up as an

officer or director . . . .”

        54.      Emails provided to Scottsdale identify UIS’s President as JC, but documents

submitted to CSCT are signed by CC.




                                                 11
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 19 of 54



       55.     In addition, CC’s emails listed a U.S. telephone number for him—a “red flag” that

CSCT may have been conducting business with a U.S. customer or customers.

       56.     All of these circumstances should have raised questions for Scottsdale about the

propriety of CSCT’s microcap stock liquidations for UIS and its customers.

                                      CSCT CUSTOMER TIS

       57.     TIS, a broker-dealer based in Belize, maintained an account at CSCT, and

deposited and liquidated shares of microcap stocks on behalf of its customers through CSCT’s

account at Scottsdale.

       58.     Before and after becoming a CSCT customer, TIS maintained an account directly

with Scottsdale from approximately August 2011 through June 2014.

       59.     According to its account documents, TIS was located at an address in Belize City,

Belize that was shared by over 50 subaccounts that TIS maintained at Scottsdale. The use of the

same address by such a large number of corporate account holders suggested an attempt by TIS

and others to conceal the true location and ownership of the entities, thereby raising concerns

about the veracity of the information provided about TIS to Scottsdale.

       60.     Information contained in TIS’s new account documents at CSCT, as well as other

information available to Scottsdale, suggested that TIS, like CSCT’s other customers and its

customers’ customers, may have operated through nominees to obscure its true beneficial

owner(s).

       61.     The new account form for TIS for its account at CSCT, which was provided to

Scottsdale, identified the entity KL as the subscriber/owner of TIS. In other documents at CSCT

and Scottsdale, KL was associated with AG, an individual who was a signatory on nine




                                                12
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 20 of 54



subaccounts under TIS’s account at Scottsdale, as well as for another customer account of CSCT

(DC).

        62.    In addition, LS, who was listed on TIS’s new account documents with CSCT as a

witness to the execution of TIS’s corporate documents, was identified as an authorized signatory

on 16 subaccounts under TIS’s account at Scottsdale.

        63.    All of these circumstances should have raised questions for Scottsdale about the

propriety of CSCT’s microcap stock liquidations for TIS and its customers.

                                       CSCT Customer DC

        64.    DC, a broker-dealer based in Belize, maintained an account at CSCT, and

deposited and liquidated shares of microcap stocks on behalf of its customers through CSCT’s

account at Scottsdale.

        65.    Information contained in DC’s new account documents, as well as other

information available to Scottsdale, suggested that DC, like CSCT’s other customers, may have

operated through nominees to obscure its true beneficial owner(s).

        66.    According to its account documents, DC shared the same address in Belize City

as TIS and over 50 other subaccounts that TIS maintained at Scottsdale.

        67.    KC and AK, British citizens, had trading authority over DC’s account. EDL, a

Swiss entity, served as the secretary and director for DC. HH, a Chinese citizen, also was

authorized to direct activity in DC’s account at CSCT.

        68.    Like TIS, DC listed the entity KL as a subscriber on its corporate documents.

AG, who was a signatory on nine other accounts for separate entities at Scottsdale, signed the

corporate documents on behalf of KL.




                                               13
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 21 of 54



       69.     The numerous jurisdictions and nationalities associated with DC, the evidence of

the possible use of nominees, and the use of an address shared with over 50 other unrelated

accounts increased the risk of potential Section 5 and other securities rules violations.

                                                ***

       70.     Despite the foregoing “red flags” that the Customers of CSCT may have operated

through nominees, Scottsdale, through DiBlasi, failed to have WSPs that adequately addressed

these risks. In addition, Scottsdale, through Cruz, also failed to identify and investigate the “red

flags” discussed above and below.

                        The Sales of Unregistered Shares of NHPI Stock

       71.     NHPI, a Delaware corporation headquartered in Florida, incorporated as Northern

Way Resources, Inc. in 1995. It originally was engaged in the oil and gas business.

       72.     In January 1996, NHPI changed its state of incorporation to Delaware and its

name to Neurotech Pharmaceuticals, Inc. One month later, it changed its name to Neuro-Hitech

Pharmaceuticals, Inc. In August 2006, it changed its name to Neuro-Hitech, Inc. According to

NHPI’s last 10Q filing in 2009, it is a “specialty pharmaceutical company focused on

developing, marketing and distributing branded and generic pharmaceutical products primarily in

the cough and cold markets.”

       73.     Between September 2009 and October 2013, NHPI did not make any public

filings. By 2014, according to information on otcmarkets.com, NHPI was transitioning from the

pharmaceutical business to the oil and gas production and exploration business, and it described

itself as “a holding company with assets currently in oil and gas and in the pharmaceutical

sector.” NHPI’s Quarterly Report for the period ending September 30, 2013 disclosed that it had

total income of ($156,241) and total expenses of $314,773.



                                                 14
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 22 of 54



       74.     According to the Delaware Secretary of State’s website, NHPI has been

“delinquent” on its taxes since March 2014.

       75.     From approximately mid-February through mid-March 2014, NHPI was the

subject of approximately 17 promotional newsletters and press releases, touting the corporation

and its business prospects. For example, a March 11, 2014 newsletter issued by

PennyStockCrowd, entitled “Breakout Alert *NHPI* New Crowd Favorite Could Run,” hyped

NHPI’s future as “The #1 Percentage Leader in the Whole Market over the next 2-3 days” with

“a monster 200-300% Gain!” The newsletter was a purchased advertisement.

       76.     After the wave of promotional materials, NHPI’s stock rose from $0.0125 per

share on February 10, 2014 to a high of $0.0550 per share on March 12, 2014. On March 17,

2014 after the promotions had subsided, the stock closed at $0.0160 per share.

       77.     Between February 7, 2014 and May 7, 2014, CSCT deposited 60 million shares of

NHPI stock in certificate form into its account at Scottsdale, liquidated all of the shares shortly

after deposit and amidst the promotional campaign, and wired the proceeds out of its account

shortly after the sales. See Schedule A, which is attached hereto and incorporated herein, for a

table detailing the deposits and sales NHPI stock.

       78.     In support of its NHPI deposits, CSCT provided Scottsdale with, among other

documents, a Promissory Note dated May 1, 2012, a related Note Conversion Agreement dated

November 15, 2013, three Promissory Notes dated September 1, 2013, and three related Note

Satisfaction Agreements dated September 16, 2013. The documents reflect that TC, a Texas

resident, loaned $10,000 to NHPI and converted 90 percent of the debt to 90 million shares of

NHPI stock, which he received on November 15, 2013.




                                                 15
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 23 of 54



       79.     Given that Scottsdale’s Deposited Securities Checklists indicated that there were

approximately 980 million shares of NHPI stock issued and outstanding, the conversion should

have raised a “red flag” because, by converting only 90 percent of the debt to 90 million shares

of NHPI stock, TC avoided becoming a ten percent owner of NHPI and thereby a presumptive

affiliate of NHPI.

       80.     Moreover, on September 1, 2013— prior to receiving his shares—TC pledged 60

million of his shares (which he did not yet own) to three Belizean entities that shared the same

address (SKY, SNS, and IOS) as collateral for funds that each entity loaned to him. Two weeks

later, on September 16, 2013, the loans to TC were satisfied when each of the three entities

signed a Note Satisfaction Agreement and purportedly received the invalidly pledged shares of

NHPI stock.

       81.     Despite the invalid title to the shares, between February 7, 2014 and March 12,

2014, CSCT deposited 60 million shares of NHPI stock for the benefit of its customer (UIS) for

the further benefit of UIS’s customers (SKY, SNS, and IOS).

       82.     CSCT deposited 40 million of the shares after the State of Delaware had declared

that NHPI was “delinquent” on its taxes.

       83.     The due diligence documents for the NHPI deposits obtained by Scottsdale are

contradictory, incomplete, and inaccurate.

       84.     SNS and IOS used the same physical stock certificate to deposit their shares,

despite the fact that the entities were purportedly owned and operated by different individuals.

       85.     In the due diligence packet for the deposit of 20 million shares of NHPI stock by

CSCT for the benefit of UIS, for the further benefit of IOS, Alpine’s Deposited Securities

Request Form obtained by Scottsdale falsely identifies CSCT as the owner of the shares. The



                                                16
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 24 of 54



form, which lists “Resale” as the reason for the deposit, is signed by GR as depositor. However,

the Securities Deposit Pre-Review Request form, included in the same packet, identifies IOS as

the owner of the shares.

       86.     Further, CSCT’s OTCBB/Pink Sheet Security Deposit Correspondent

Representation Letter form for the deposit identifies JX as the “Authorized Person” for IOS, but

does not include JX’s title, as required by the form. In addition, the form is signed by CC, the

control person for UIS.

       87.     JX signed the OTCBB/Pink Sheet Beneficial Ownership Declaration form as the

beneficial owner of IOS, but his relationship with IOS is not disclosed.

       88.     None of the documents obtained by Scottsdale specifically identify whether any

of the officers or directors of IOS also directly or indirectly own additional shares of NHPI stock.

       89.     In late February 2014, amidst the promotional campaign and coinciding

appreciation in NHPI’s stock price—and not long after the shares of NHPI stock had been

deposited into CSCT’s account at Scottsdale—CSCT, through Scottsdale, began liquidating the

shares for its customer. Between late February and early May 2014, CSCT, through Scottsdale,

liquidated all 60 million shares of NHPI stock for its customer UIS, for the benefit of UIS’s

customers (SKY, SNS, and IOS), and wired the proceeds out of its account shortly after the

sales. The liquidations collectively generated approximately $263,000 in net proceeds.

       90.     The liquidations were profitable for the customers of the customer of CSCT.

SKY, SNS, and IOS collectively acquired the 60 million shares for $150,000 in September 2013,

and they collectively generated approximately $263,000 in net proceeds from the sales of the

shares between late February and early May 2014.




                                                17
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 25 of 54



       91.     The liquidations accounted for over 50 percent of the float, or the number of

outstanding shares available for resale, during that time period.

       92.     The price obtained for the shares generally ranged from approximately a fraction

of a cent to three cents per share, and accounted for over 20 percent of the daily volume of NHPI

stock on at least 17 days.

       93.     Scottsdale has claimed that the liquidations of the NHPI shares were exempt from

registration under Rule 144, based upon representations from CSCT, UIS, SKY, SNS, and IOS—

all of which had an interest in the liquidations—that the acquisition dates of the shares by the

three entities tacked back to May 1, 2012, when NHPI issued the Promissory Note to TC.

       94.     The Rule 144 safe harbor, however, was not available to SKY, SNS, or IOS,

because TC pledged the shares to those entities before he even owned them.

       95.     SKY, SNS, and IOS all purportedly acquired the shares from TC on September

16, 2013. Yet, TC did not acquire the shares until two months later on November 15, 2013.

Thus, TC did not own the shares when he purportedly transferred them to SKY, SNS, and IOS.

Because the transfers were invalid, the three entities cannot tack back their acquisition dates to

May 1, 2012.

       96.     The invalidity of the transfers and inability to tack back the acquisition dates to

May 1, 2012 was apparent from the documents provided to Scottsdale.

       97.     The foregoing shares of NHPI stock were not registered with the SEC.

       98.     The foregoing shares of NHPI stock also were sold in transactions that were not

exempt from registration with the SEC.

       99.     The foregoing sales of NHPI stock were part of a plan or scheme to evade the

registration requirements of Section 5.



                                                 18
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 26 of 54



       100.    Scottsdale received over $5,000 in commissions from CSCT’s sales of

unregistered shares of NHPI stock.

                      The Sales of Unregistered Shares of VPLM Stock

       101.    VPLM, a Nevada corporation headquartered in Washington, incorporated as All

American Casting International, Inc. in 1997. In 2004, it changed its name to VOIP MDU.com.

It adopted its current name in September 2006. According to information on otcmarkets.com,

VPLM is “a technical leader in the broadband voice-over-internet protocol market with

ownership and continuing development of a portfolio of leading edge Voip patents.” According

to VPLM’s 2013 annual report for its fiscal year ending September 30, 2013, it had revenue of

$151, expenses of nearly $4 million, and an accumulated deficit of nearly $6 million.

       102.    CSCT deposited 9,318,000 shares of VPLM stock in certificate form into its

account at Scottsdale on February 7, 2014, liquidated a substantial number of the shares between

February and June 2014, and wired over $1.4 million in proceeds out of its account shortly after

the sales. See Schedule B, which is attached hereto and incorporated herein, for a table detailing

the deposit and sales of VPLM stock.

       103.    In support of its VPLM deposit, CSCT provided Scottsdale with, among other

documents, a Debt Settlement Agreement dated August 15, 2013 and a Stock Purchase

Agreement dated August 23, 2013. The documents reflect that: (a) LSF, which was controlled

by RK, obtained the shares directly from VPLM on August 15, 2013, in settlement of debt owed

by VPLM to LSF, in connection with a verbal line of credit that LSF extended to VPLM

beginning in July 2010; and (b) LSF transferred the shares to VI, a Belizean corporation, on

August 23, 2013—only eight days after acquiring them.




                                                19
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 27 of 54



       104.      The due diligence documents for the VPLM deposit obtained by Scottsdale are

contradictory, incomplete, and inaccurate.

       105.      In the due diligence packet for the deposit, Alpine’s Deposited Securities Request

Form obtained by Scottsdale falsely identifies CSCT as the owner of the shares. The form,

which lists “Resale” as the reason for the deposit, is signed by GR as depositor. However,

Scottsdale’s OTCBB/Pink Sheet Security Deposit Agreement (Correspondent Account) form,

included in the same packet, identifies VI as the owner of the shares.

       106.      Further, Alpine’s Deposited Securities Request Form provides that the “Owner”

owns or controls 14,753,343 shares of VPLM, in addition to the deposit of an additional

9,318,000 shares, and has sold 6,716,750 shares within the past three months. In total, that

amounts to 30,788,093 shares of VPLM stock. However, the Stock Purchase Agreement dated

August 23, 2013 in the same packet provides that VI acquired 29,318,000 shares from LSF. The

documents do not identify where the additional shares are or were held, or when or how they

were acquired.

       107.      In addition, CSCT’s OTCBB/Pink Sheet Security Deposit Correspondent

Representation Letter form, included in the same packet, identifies VHB as the owner and

managing member of VI, but the form is signed by IM, whose relationship with VI is

undisclosed.

       108.      None of the documents obtained by Scottsdale specifically identify whether any

officers or directors of VI also directly or indirectly own additional shares of VPLM stock.

       109.      On or about February 7, 2014, CSCT deposited 9,318,000 shares of VPLM stock

for the benefit of MS, for the further benefit of VI, into CSCT’s account at Scottsdale.




                                                 20
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 28 of 54



       110.      Between February 20, 2014 and June 9, 2014, CSCT liquidated 7,812,500 shares

of VPLM stock and wired the proceeds out of its account shortly after the sales. The liquidations

generated approximately $1.4 million in net proceeds.

       111.      The price obtained for the shares generally ranged between approximately $0.14

and $0.30 per share, and accounted for over 20 percent of the daily volume of VPLM stock on at

least 15 days.

       112.      The liquidations of the VPLM shares were profitable for VI, which acquired 29

million shares for $240,000, and sold approximately 7.8 million of the shares six months later for

$1.4 million.

       113.      Scottsdale has claimed that the liquidations of the VPLM shares were exempt

from registration under Rule 144, based upon representations by CSCT, MS, VI, and VPLM—all

of which had an interest in the liquidations—that VI’s acquisition date tacked back to July 31,

2012, when LSF had extended credit to VPLM.

       114.      The Rule 144 safe harbor, however, was not available for two reasons. First, VI

could not use LSF’s acquisition date, because LSF was a presumptive affiliate of VPLM by

virtue of LSF’s ownership of over ten percent of VPLM’s outstanding shares of stock and RK’s

control over both VPLM and LSF. In fact, in mid-March 2014, VPLM identified VI, LSF, and

RK as “Covered Persons” under its Trading Policy, meaning that they held a direct or beneficial

interest in the company or were aware of material information about it that is not generally

known or available to the public, and therefore were precluded from trading its stock during its

blackout period. In early June 2014, VPLM advised Scottsdale that VI, LSF, and RK were

“Covered Persons.”




                                                21
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 29 of 54



        115.    Second, even if LSF were not an affiliate, the time between LSF’s acquisition of

the VPLM shares and the sale of the shares through Scottsdale was less than the requisite one-

year holding period under Rule 144 due to the fact that VI could not tack back its acquisition

date to the verbal line of credit, since it is not a security.

        116.    Despite the fact that LSF did not acquire the shares of VPLM stock until August

15, 2013, Scottsdale and CSCT relied upon representations by VPLM that VI could tack the

acquisition date back to the verbal line of credit purportedly in existence as of July 31, 2012.

Neither Scottsdale nor CSCT took any steps to independently verify this assertion.

        117.    The foregoing shares of VPLM stock were not registered with the SEC.

        118.    The foregoing shares of VPLM stock also were sold in transactions that were not

exempt from registration with the SEC.

        119.    Scottsdale received approximately $24,000 in commissions from CSCT’s sales of

unregistered shares of VPLM stock.

                        The Sales of Unregistered Shares of ORFG Stock

        120.    ORFG, a Nevada corporation headquartered in China, incorporated as SNT

Cleaning, Inc. in 2005. It originally was engaged in the business of cleaning and detailing cars

and other vehicles. In 2009, it changed its name to Orofino Gold Corp., and it entered the gold

mining business. In September 2014, after the transactions described herein, ORFG changed its

name to Bakken Energy Corp., and it entered the oil and gas business.

        121.    ORFG was a development stage company as of February 2013, and it deregistered

with the SEC in April 2013. ORFG’s 2013 annual report for its fiscal year ending May 31, 2013

disclosed that it had minimal assets, no cash, no revenue, expenses of over $700,000, and an

accumulated deficit of approximately $3.7 million.



                                                    22
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 30 of 54



       122.    From approximately early May 2014 to late June 2014, ORFG was the subject of

over 30 promotional newsletters and press releases, touting the company and its business

prospects. For example, a May 5, 2014 newsletter issued by OTCEquity promoted ORFG as its

“mega play,” touting that ORFG had acquired an oil refinery valued at $16.5 million, which “the

company believes it is worth much more.” The newsletter further provided that “[t]o find such

impressive assets on a 2 cent company is incredible,” but it failed to explain how ORFG, a

company without any assets and revenue, managed to finance the purchase of an oil refinery.

The newsletter was a paid advertisement.

       123.    Amidst the wave of promotional materials and press releases, ORFG’s stock price

ranged between $0.0150 and $0.0290 per share. By July 15, 2014, the promotions had subsided,

and the stock price dropped to $0.0083 per share.

       124.    During the aforementioned promotional campaign, CSCT deposited 13,280,000

shares of ORFG stock in its account at Scottsdale on or about June 11, 2014, liquidated

6,403,298 of the shares by the end of the month, and wired approximately $90,000 out of its

account shortly after the sales. See Schedule C, which is attached hereto and incorporated

herein, for a table detailing the deposit and sales of ORFG stock.

       125.    The due diligence documents for the deposit obtained by Scottsdale are

contradictory, incomplete, and inaccurate.

       126.    In the due diligence packet for the deposit of 13,280,000 shares of ORFG stock by

CSCT for the benefit of UIS, for the further benefit of MC, Alpine’s Deposited Securities

Request Form obtained by Scottsdale falsely identifies CSCT as the owner of the shares. The

form, which lists “Resale” as the reason for the deposit, is signed by GR as depositor. However,

Scottsdale’s OTCBB/Pink Sheet Security Deposit Agreement (Correspondent Account) form,



                                                23
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 31 of 54



included in the same packet, identifies MC as the owner of the shares. MC shared the same

address in Belize as other UIS customers, including SKY, SNS, and IOS.

       127.    Further, CSCT’s OTCBB/Pink Sheet Security Deposit Correspondent

Representation Letter form obtained by Scottsdale identifies GM as the “Authorized Person” for

MC, but does not include GM’s title, as required by the form. In addition, the form is signed by

CC, the control person for UIS.

       128.    GM signed the OTCBB/Pink Sheet Beneficial Ownership Declaration form as the

beneficial owner, but his relationship with MC is not disclosed.

       129.    None of the documents obtained by Scottsdale specifically identify whether the

officers or directors of MC directly or indirectly own additional shares of ORFG stock.

       130.    In support of its deposit, CSCT provided Scottsdale with, among other

documents: (a) a 12% Convertible Promissory Note between ORFG and CF dated September 1,

2012 (“Original ORFG Note”); (b) an Assignment and Modification Agreement among ORFG,

CF, and AM dated January 18, 2014; (c) an Eight Percent (8%) Convertible Note between ORFG

and AM dated January 18, 2014 (“Modified ORFG Note”); (d) a Notice of Conversion; and (e) a

Stock Purchase/Debt Payment Agreement between AM and MC dated April 16, 2014.

       131.    In the Modified ORFG Note, ORFG represented “for value received [ORFG]

promises to pay AM the principal sum of . . . $50,000.” The documents provided to Scottsdale

further reflect that AM converted $9,000 of the debt to 15 million shares of ORFG stock, which

it sold to MC between April 16 and 22, 2014.

       132.    In the Stock Purchase/Debt Payment Agreement between AM and MC, a Belizean

corporation, MC represented that it “agrees that security being purchased is for investment by

purchaser. Security is not being purchased for promotion of any kind by the purchasers of this



                                               24
         Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 32 of 54



stock, for the company, or for the seller.” ORFG, however, was promoted by

pennystockcrowd.com, a stock promotion company linked to MC by publicly available

information.

         133.   On June 11, 2014, CSCT deposited 13,280,000 shares of ORFG stock for the

benefit of UIS, for the further benefit of MC, into its account at Scottsdale.

         134.   Despite its written representation that the shares were acquired for investment

purposes only, from June 11-30, 2014—approximately two months after MC had acquired the

shares of OFRG stock—CSCT liquidated 6,403,298 shares of ORFG stock for MC, amidst the

promotional campaign, and wired the proceeds out of its account shortly after the sales. The

liquidations generated approximately $91,000 in net proceeds.

         135.   The price obtained for the ORFG shares ranged between one and two cents per

share.

         136.   Scottsdale has claimed that the liquidations of the ORFG shares were exempt

from registration under Rule 144, based upon representations from CSCT, UIS, MC, and

ORFG—all of which had an interest in the liquidations—that the acquisition date for the shares

tacked back to September 1, 2012, when ORFG issued the Original ORFG Note to CF.

         137.   The Rule 144 safe harbor, however, was not available to MC because MC cannot

tack back to CF’s acquisition date, and therefore cannot satisfy the one-year holding period

requirement of the Rule.

         138.   Under the terms of the Original ORFG Note, the option to convert the debt to

shares of ORFG stock expired in September 2013. In order to make the debt acquired by AM

convertible to stock, new consideration was exchanged by ORFG and AM in connection with the

Modified ORFG Note and related Assignment and Modification Agreement. Specifically, the



                                                 25
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 33 of 54



interest rate payable by ORFG was reduced from twelve percent to eight percent, and the

Modified ORFG Note allowed for the conversion of the debt to shares of ORFG stock, an option

that had expired under the terms of the Original ORFG Note.

       139.    In concluding that MC’s acquisition could tack back to the Original ORFG Note,

Scottsdale and CSCT relied upon representations by the issuer, ORFG. Neither Scottsdale nor

CSCT took any steps to independently verify the representations.

       140.    The foregoing shares of ORFG stock were not registered with the SEC.

       141.    The foregoing shares of ORFG stock also were sold in transactions that were not

exempt from registration with the SEC.

       142.    Scottsdale received approximately $1,900 in commissions from CSCT’s sales of

unregistered shares of ORFG stock.

                                 FIRST CAUSE OF ACTION
                          UNREGISTERED SECURITIES – SALES OF
               (VIOLATIONS OF FINRA RULE 2010 BY SCOTTSDALE AND HURRY)

       143.    The Department realleges and incorporates by reference paragraphs 1-142, above.

       144.    Section 5 of the Securities Act of 1933 prohibits sales of securities that are not

registered with the SEC, unless the sales are exempt from registration.

       145.    Section 4(a)(1) of the Securities Act exempts “transactions by any person other

than an issuer, underwriter, or dealer” from the registration requirements of Section 5. Under

Section (2)(a)(11) of the Securities Act, the term “underwriter” is defined as “any person who

has purchased from an issuer with a view to . . . distribution of any security.” Under Section

(2)(a)(4) of the Securities Act, the term “issuer” includes persons directly or indirectly

controlling the issuer or under common control with the issuer, directly or indirectly.




                                                 26
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 34 of 54



Compliance with Rule 144 establishes a safe harbor against a claim that an individual or entity is

an “underwriter.”

       146.    The Preliminary Note to Rule 144, however, provides that Rule 144 “is not

available to any person with respect to any transaction or series of transactions that, although in

technical compliance with Rule 144, is part of a plan or scheme to evade the registration

requirements of the [Securities] Act.”

       147.    As detailed above, the Rule 144 safe harbor and the Section 4(a)(1) exemption are

unavailable for the subject sales of shares of NHPI stock, and therefore could not be relied upon

by Hurry and Scottsdale, because the sales were a part of a plan or scheme to evade the

registration requirements of the Securities Act.

       148.    Section 4(a)(4) of the Securities Act exempts “brokers’ transactions executed

upon customers’ orders on any exchange or in the over-the-counter market but not the

solicitation of such orders” from the registration requirements of Section 5. Among other

conditions a firm must meet to take advantage of the exemption under Section 4(a)(4), a firm

must conduct a reasonable inquiry such that it is unaware of circumstances suggesting that the

customer is an underwriter of the securities sold or that the transaction is part of an illegal,

unregistered distribution of the issuer’s securities.

       149.    As detailed above and below, the Section 4(a)(4) exemption is unavailable to

Scottsdale or Hurry because they failed to conduct reasonable inquiries of the circumstances

surrounding the foregoing deposits and sales of shares of NHPI, VPLM, and ORFG stock.

       150.    Scottsdale sold the foregoing shares of NHPI, VPLM, and ORFG stock for CSCT

and its customers through use of the means or instruments of transportation or communication in

interstate commerce and the mails, by selling the shares through the over-the-counter (“OTC”)



                                                   27
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 35 of 54



market, by corresponding about the deposits and corresponding sales through the mail and email,

and by communicating about them in phone calls.

       151.    No registration statement has been filed with the SEC or was in effect for the

foregoing shares of NHPI, VPLM, and ORFG stock, and the shares of the three stocks were sold

in transactions that were not exempt from registration with the SEC.

       152.    Hurry was a necessary participant and substantial factor in the foregoing sales of

NHPI, VPLM, and ORFG stock as a result of his establishment, indirect ownership,

management, and control of CSCT, as well as his prospecting on behalf of CSCT, and his

indirect ownership of, and ability to control, Scottsdale and Alpine.

       153.    Hurry’s establishment of CSCT, indirect ownership of CSCT, management of

CSCT’s business, control over CSCT and its personnel, and prospecting for CSCT customers

played a significant role in the occurrence of the violative sales of NHPI, VPLM, and ORFG

stock, but for which the sales would not have occurred.

       154.    It was foreseeable that CSCT, through its account at Scottsdale, would sell

unregistered shares of microcap stocks in transactions that were not exempt from registration

based on: (a) Hurry’s establishment of CSCT as an attractive intermediary in the Cayman

Islands—a country with stringent secrecy laws, which did not regulate CSCT’s securities

business—for individuals who, through foreign financial institutions, engaged in the high-risk

microcap stock liquidation business; (b) Hurry’s unreasonable delegation of responsibility to

GR—who had no securities industry experience—to vet CSCT’s high-risk microcap stock

liquidation business for possible violations of Section 5 and other securities laws and rules; and

(c) Hurry’s indirect ownership of, and ability to exercise control over, CSCT, Scottsdale, and




                                                28
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 36 of 54



Alpine, which facilitated liquidations of microcap stocks, without the scrutiny such transactions

demanded.

       155.    FINRA Rule 2010 requires members, in the conduct of their business, to “observe

high standards of commercial honor and just and equitable principles of trade.”

       156.    By engaging and participating in the foregoing sales of unregistered securities in

transactions not subject to an exemption from the registration requirements, Scottsdale acted in

contravention of Section 5, and thus violated FINRA Rule 2010.

       157.    By being a necessary participant and substantial factor in the foregoing sales of

unregistered securities in transactions not subject to an exemption from the registration

requirements, Hurry acted in contravention of Section 5, and thus violated FINRA Rule 2010.

                           SECOND CAUSE OF ACTION
            SUPERVISORY PROCEDURES—DEFICIENT SUPERVISORY SYSTEM
                     AND WRITTEN SUPERVISORY PROCEDURES
 (VIOLATIONS OF NASD RULE 3010 AND FINRA RULE 2010 BY SCOTTSDALE AND DIBLASI)

                              Scottsdale’s Supervisory Structure

       158.    The Department realleges and incorporates by reference paragraphs 1-157, above.

       159.    DiBlasi became Scottsdale’s CCO in October 2013. As CCO, DiBlasi was

responsible for establishing Scottsdale’s supervisory procedures, including its WSPs. In

particular, according to Scottsdale’s WSPs, DiBlasi was responsible for “establishing procedures

reasonably designed to ensure: the stock certificate is validly issued and owned by the customer;

and the resale of such security is made in reasonable reliance on an exemption from the

registration requirements, as applicable.”

       160.    DiBlasi was responsible for establishing and maintaining a supervisory system,

including WSPs, for Scottsdale reasonably designed to prevent sales of unregistered, non-exempt

stocks by the Firm for its customers.

                                                29
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 37 of 54



       161.    Cruz became a member of Scottsdale’s Management Committee and its General

Counsel in May 2008. In March 2013, he was appointed as its President. From at least

December 1, 2013 through June 30, 2014, Cruz was the principal at the Firm with ultimate

responsibility for approval of deposits and sales of microcap stocks by customers that were

foreign financial institutions for purposes of compliance with Section 5.

       162.    Cruz was responsible for enforcing Scottsdale’s WSPs to prevent sales of

unregistered, non-exempt stocks by the Firm for such customers.

       163.    Scottsdale, DiBlasi, and Cruz were aware of the importance of implementing and

enforcing a reasonable supervisory system to monitor for potential Section 5 violations in

Scottsdale’s high-risk microcap liquidation business, not only because that was, and still is, the

Firm’s principal business, but also because FINRA had previously sanctioned the Firm for such

violations. In November 2011, FINRA issued an order approving an Offer of Settlement of a

Complaint filed against Scottsdale and its former President. In the Offer of Settlement,

Scottsdale: (i) consented to findings that it sold unregistered securities without the availability of

an applicable exemption and failed to implement an adequate AML compliance program; (ii)

was censured; and (iii) agreed to pay a fine of $125,000.

                    Scottsdale’s Inadequate Supervisory System and WSPs

       164.    During the Relevant Period, Scottsdale, through DiBlasi, failed to establish and

maintain a supervisory system, including WSPs, reasonably designed to achieve compliance with

Section 5 for the sales of unregistered microcap stocks.

       165.    Scottsdale’s supervisory system was inadequate to reasonably ensure that its

customers’ sales of microcap stocks were sold pursuant to an effective registration statement or a

valid exemption therefrom.



                                                  30
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 38 of 54



       166.    Specifically, Scottsdale’s supervisory system was inadequate to reasonably ensure

that the Firm identified the true beneficial owners of shares of microcap stocks sold into the U.S.

markets for its customers. Scottsdale’s supervisory system for sales of unregistered shares of

microcap stocks was deficient because its WSPs did not set forth clear responsibilities for its

personnel or set forth a mandatory standardized process to conduct a reasonable inquiry

regarding the beneficial ownership information in order to determine whether sales complied

with the registration requirements of Section 5 or the exemptions therefrom.

       167.    Further, the WSPs did not provide sufficient guidance for identifying the true

beneficial owners of securities sold, with regards to customers introduced through foreign

entities, including foreign financial institutions, in order to ensure compliance with Section 5.

       168.    Instead, the documents gathered by Scottsdale included an OTCBB/Pink Sheet

Beneficial Ownership form to be completed with each deposit. In the form, the purported

beneficial owner of the foreign entity that sought to deposit securities represented that he or she

was not an insider or promoter of the issuer of those securities. Scottsdale’s WSPs, however, did

not require the Firm’s personnel to take steps, such as obtaining corporate records, to

independently verify self-serving representations in the form. Without requiring that a

reasonable inquiry be conducted into the true beneficial owners of offshore entities, Scottsdale

could not determine whether sales of the deposited microcap stocks complied with Section 5.

       169.    The WSPs also did not address the use of nominees or provide guidance on “red

flags” suggesting the possible use of nominees to conceal beneficial owners.

       170.    The WSPs likewise did not address the use of the same officers and directors by

multiple companies or the same address by multiple companies.




                                                 31
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 39 of 54



       171.    The WSPs also never directed that a deposit and subsequent sale be cancelled

where the identity of the true beneficial owner could not be confirmed.

       172.    Due to this lack of clear guidance in Scottsdale’s WSPs, the Firm, through

DiBlasi, established inadequate unwritten procedures for conducting a reasonable inquiry.

       173.    Before being superseded by FINRA Rule 3110 in December 2014, NASD Rule

3010(a) required members to “establish and maintain a system to supervise the activities of each

registered representative, registered principal, and other associated person that is reasonably

designed to achieve compliance with applicable securities laws and regulations, and with

applicable NASD Rules.”

       174.    Before being superseded by FINRA Rule 3110 in December 2014, NASD Rule

3010(b) required members to “establish, maintain, and enforce written procedures to supervise

the types of business in which it engages and to supervise the activities of registered

representatives, registered principals, and other associated persons that are reasonably designed

to achieve compliance with applicable securities laws and regulations, and with the applicable

Rules of NASD.” These procedures must be tailored to the types of business in which the firm

engages, and they also must set out mechanisms for ensuring compliance and detecting

violations, not merely set out what conduct is prohibited.

       175.    During the Relevant Period, Scottsdale, through DiBlasi, failed to establish and

maintain a supervisory system, including WSPs, reasonably designed to achieve compliance with

Section 5 for sales of microcap stocks.

       176.    As a result of the foregoing, Scottsdale and DiBlasi violated NASD Rule 3010(a),

(b) and FINRA Rule 2010.




                                                 32
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 40 of 54



                              THIRD CAUSE OF ACTION
                  SUPERVISORY PROCEDURES—FAILURE TO SUPERVISE
   (VIOLATIONS OF NASD RULE 3010 AND FINRA RULE 2010 BY SCOTTSDALE AND CRUZ)

                                      Regulatory Notice 09-05

       177.      The Department realleges and incorporates by reference paragraphs 1-176, above.

       178.      In January 2009, FINRA issued Regulatory Notice 09-05 (“RN 09-05”), entitled

“Unregistered Resales of Restricted Securities.” In RN 09-05, FINRA, citing guidance issued by

the SEC in 1962, reminded firms and associated persons of their obligation to determine whether

securities are eligible for public sale, because “[f]irms that do not adequately supervise or

manage their role in such distributions run the risk of participating in an illegal, unregistered

distribution.”

       179.      In RN 09-05, FINRA identified ten examples of “situations in which firms should

conduct a searching inquiry to comply with their regulatory obligations under the federal

securities laws and FINRA rules.” The non-exhaustive, illustrative list of “red flag” situations,

which also were set forth in Scottsdale’s WSPs, included, among others, situations where:

                 a.     A customer opens a new account and delivers physical certificates

                        representing a large block of thinly traded or low-priced securities;

                 b.     A customer has a pattern of depositing physical share certificates,

                        immediately selling the shares and then wiring out the proceeds of the

                        resale;

                 c.     A customer deposits share certificates that are recently issued or represent

                        a large percentage of the float for the security;




                                                  33
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 41 of 54



               d.      The lack of a restrictive legend on deposited shares seems inconsistent

                       with the date the customer acquired the securities or the nature of the

                       transaction in which the securities were acquired;

               e.      There is a sudden spike in investor demand for, coupled with a rising price

                       in, a thinly traded or low-priced security;

               f.      A customer with limited or no other assets under management at the firm

                       receives an electronic transfer or journal transactions of large amounts of

                       low-priced, unlisted securities; and

               g.      The issuer has been through several recent name changes, business

                       combinations or recapitalizations, or the company’s officers are also

                       officers of numerous similar companies.

       180.    In RN 09-05, FINRA provided guidance on conducting a reasonable inquiry and

establishing supervisory procedures and controls for unregistered resales of securities. FINRA

advised that as part of the “reasonable steps” a firm must take to ensure a resale of unregistered

securities is not an illegal distribution, firms should ask, at a minimum, certain questions,

including: how long the customer has held the security; how the customer acquired the security;

whether the customer intends to sell additional shares of the same class of securities through

other means; how many shares or other units of the class are outstanding; and what the relevant

trade volume is.

       181.    RN 09-05 reiterated that “firms that accept delivery of large quantities of low-

priced OTC securities, in either certificate form or by electronic transfer, and effect sales in these

securities, should have written procedures and controls in place to prevent participation in an

illegal, unregistered distribution of securities.” RN 09-05 further advised that proper supervisory



                                                 34
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 42 of 54



procedures should include a “mandatory standardized process” that clearly communicates each

step in the review, approval, and post-approval process, clearly assigns ownership of each step in

the process, and is easily accessible to the people involved in the process.

                        The “Red Flags” Raised by the CSCT Account

       182.    As set forth above in greater detail, the following “red flags,” which are indicative

of illegal sales and potentially suspicious activity, were present in the CSCT account:

               a.      GR, the director of CSCT, had no prior experience in the securities

                       industry and lacked general knowledge regarding microcap stocks;

               b.      CSCT’s securities business was exempt from regulation by the Cayman

                       Islands Monetary Authority;

               c.      Pursuant to the secrecy laws of the Cayman Islands, CSCT could not

                       disclose beneficial ownership information regarding its customers, without

                       authorization from the customers or the Cayman Court;

               d.      The foregoing facts suggesting that the Customers of CSCT may have

                       maintained nominee accounts at CSCT;

               e.      In most cases, CSCT deposited physical stock certificates for the benefit

                       of its account holders and for the further benefit of its subaccount holders,

                       but the certificates were titled in the name of CSCT;

               f.      Many of CSCT’s accounts and subaccounts shared the same physical

                       addresses in Belize and also had common officers;

               g.      CSCT regularly deposited large quantities of shares of thinly traded, low-

                       priced microcap stocks in its account; and




                                                 35
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 43 of 54



               h.      CSCT liquidated the shares promptly after deposit and withdrew the

                       resulting proceeds shortly after the sales.

                        The “Red Flags” Raised by CSCT’s Deposits
                     and Liquidations of NHPI, VPLM, and ORFG Stock

                               The NHPI Deposits and Liquidations

       183.    As set forth above in greater detail, the following “red flags,” which are indicative

of illegal sales of securities and potentially suspicious activity, were present in the deposits and

sales of the unregistered shares of NHPI stock:

               a.      Deposits of a substantial amount of a thinly traded, low-priced microcap

                       stock (60 million shares) in physical certificate form immediately after

                       opening the account;

               b.      Ambiguity surrounding the ownership of the shares raised by documents

                       accompanying their corresponding deposits;

               c.      Deposits of recently-issued share certificates;

               d.      Deposits and liquidation of all of the shares, and wiring of the proceeds

                       shortly thereafter;

               e.      Liquidations amidst an ongoing promotional campaign and increases in

                       the stock’s price;

               f.      Prior name changes of NHPI and recent major change in its business from

                       pharmaceuticals to oil and gas;

               g.      NHPI’s delinquent corporate status with the State of Delaware when

                       CSCT deposited 40 million shares of the stock;

               h.      NHPI’s lackluster financials;




                                                  36
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 44 of 54



               i.      Liquidations accounting for a large percentage of the stock’s trading

                       volume;

               j.      CSCT’s customers’ acquisition of the stock from an individual who held

                       approximately 90 percent of the float;

               k.      Conversion of less than 100 percent of the debt held to shares in an

                       apparent attempt to avoid being classified as a presumptive affiliate;

               l.      Profitability of SKY, SNS, and IOS on their sales of NHPI stock;

               m.      Sales of the 60 million shares of NHPI stock by SKY, SNS, and IOS,

                       collectively, accounted for over 50 percent of the float;

               n.      SKY’s President was an authorized signor for two other accounts at

                       Scottsdale;

               o.      SKY, SNS, and IOS shared the same address in Belize;

               p.      Use of the same physical NHPI stock certificate by SNS and IOS in

                       connection with their deposits; and

               q.      UIS’s website offering to provide nominees for its customers.

                               The VPLM Deposit and Liquidations

       184.    As set forth above in greater detail, the following “red flags,” which are indicative

of illegal sales of securities and potentially suspicious activity, were present in the deposits and

sales of the unregistered shares of VPLM stock:

               a.      Deposit of a substantial amount of a thinly traded, low-priced microcap

                       stock (over nine million shares) in physical certificate form soon after the

                       opening of the account;




                                                 37
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 45 of 54



               b.      Deposit of recently-issued share certificates from a company with little or

                       no assets or revenues;

               c.      Deposit and liquidation of most of the shares, and wiring of the proceeds

                       shortly thereafter;

               d.      Substantial amount of proceeds generated from the sales (approximately

                       $1.4 million) within a short period of time;

               e.      Prior name changes of the issuer;

               f.      Liquidations accounting for a large percentage of the stock’s trading

                       volume;

               g.      Representation by VI that it had acquired the shares for investment

                       purposes only and not with a view for resale or distribution, coupled with

                       sale of the shares shortly after acquiring them;

               h.      VI’s acquisition of its shares from LSF, which was an affiliate of VPLM;

               i.      Possible connection of MS individuals to the U.S.;

               j.      Identification of AG as a beneficial owner/control person for a number of

                       customers of CSCT, including as the President of VI; and

               k.      Documents reflecting that the VPLM shares were issued as a result of a

                       debt settlement that occurred less than one year prior to the liquidations.

                                   The ORFG Deposit and Liquidations

       185.    As set forth above in greater detail, the following “red flags,” which are indicative

of illegal sales of securities and potentially suspicious activity, were present in the deposits and

sales of the unregistered shares of ORFG stock:




                                                 38
Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 46 of 54



     a.    Deposit of a substantial amount of a thinly traded, low-priced microcap

           stock (over 13 million shares) as the continuation of a pattern of similar

           deposits by CSCT;

     b.    Deposit of recently issued shares;

     c.    Deposit and liquidation of most of the shares, and wiring of the proceeds

           shortly after the sales;

     d.    Liquidations amidst ongoing publicity or promotional campaigns;

     e.    Possible ownership by MC of a promotional company that published

           promotional reports on ORFG;

     f.    Prior name change of ORFG and the shift in its business from cleaning

           and detailing of vehicles, to gold mining, and to oil and gas;

     g.    ORFG’s lack of revenue and reported deficit of over $3 million;

     h.    Liquidations accounting for a large percentage of the stock’s trading

           volume;

     i.    Representation by MC that it had acquired the shares for investment

           purposes only and not with a view for resale or distribution, coupled with

           sale of the shares shortly after acquiring them;

     j.    Possible connection of UIS individuals to the U.S.;

     k.    UIS’s website offering to provide nominees for its customers; and

     l.    Documents reflecting that new consideration was provided in exchange

           for the shares, thereby vitiating the claimed Rule 144 tacking argument.




                                      39
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 47 of 54



                                     The Failure to Supervise

       186.    Cruz was responsible for approval of deposits and liquidations of microcap

securities by Scottsdale’s foreign financial institution customers.

       187.    Scottsdale, through Cruz, failed to conduct reasonable inquiries of the foregoing

deposits and liquidations of shares of NHPI, VPLM, and ORFG stock, despite the presence of

the foregoing “red flags” suggesting that the sales could be unregistered distributions, which

therefore required reasonable inquiries to be conducted.

       188.    While Scottsdale and Cruz collected some documents and information about the

proposed deposits and sales of the unregistered shares of microcap stocks, they failed to

adequately analyze and independently verify the collected documents and information or to

identify the foregoing discrepancies and conflicts related to the documents. In sum, their

collection and verification efforts were merely cursory and allowed Scottsdale’s business of

liquidating unregistered shares of microcap stocks to continue.

       189.    Scottsdale and Cruz unreasonably relied upon representations from their customer

and other entities and persons involved in the deposits and liquidations that the depositors were

not insiders, affiliates, or promoters of the issuers whose securities they deposited.

       190.    Scottsdale and Cruz failed to take adequate steps to independently verify the self-

serving attestations, even in the face of inconsistent information provided to Scottsdale regarding

the beneficial ownership of the entities on whose behalf the Firm liquidated microcap stocks.

       191.    Scottsdale and Cruz also unreasonably relied upon representations from their

customer and other interested parties regarding the availability of the Rule 144 safe harbor. They

simply accepted, at face value, claims by interested parties that acquisition dates of shares of




                                                 40
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 48 of 54



microcap stocks could be tacked back to earlier acquisition dates, despite discrepancies in the

supporting documents regarding the acquisition dates and ownership of the shares.

       192.    Scottsdale and Cruz detected promotional activity surrounding the deposits and

liquidations of NHPI and ORFG stocks, but failed to document the reason why they did not

consider the promotional activity to be “red flags” of potentially illegal distributions.

       193.    Cruz also relied on discussions with a Scottsdale registered representative, HD, in

order to determine whether to approve a deposit of shares of stock in certificate form. Cruz did

not conduct a substantive review of the documents provided in connection with a deposit, despite

being the principal responsible for approving the documents. Consequently, Cruz approved the

aforementioned deposits of shares of NHPI, VPLM, and ORFG stock, notwithstanding the

existence of the “red flags” (detailed above) of potential violations of Section 5.

       194.    Cruz’s failure to reasonably supervise the sales of the aforementioned three

microcap stocks resulted in numerous “red flags” going undetected and unheeded. Scottsdale

and Cruz failed to make the requisite reasonable inquiries required to detect and prevent

unlawful sales of unregistered securities.

       195.    In sum, Scottsdale and Cruz failed to conduct reasonable inquiries into the

foregoing sales of the three microcap stocks by CSCT.

       196.    As a result of the foregoing, Scottsdale and Cruz violated NASD Rule 3010(b)

and FINRA Rule 2010.

                                     RELIEF REQUESTED

       WHEREFORE, the Department respectfully requests that the Panel:

       A.      make findings of fact and conclusions of law that Respondents Scottsdale, Hurry,

               DiBlasi, and Cruz committed the violations charged and alleged herein;



                                                 41
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 49 of 54


      B.     order that one or more of the sanctions provided under FINRA Rule 8310(a) be


             imposed, including but not limited to full disgorgement of any and all ill-gotten


             gains by Scottsdale and/or Hurry, together with interest; and


      C.     order that Respondents Scottsdale, Hurry, DiBlasi, and Cruz bear such costs of


             the proceeding as are deemed fair and appropriate under the circumstances in


             accordance with FINRA Rule 8330.



FINRA DEPARTMENT OF ENFORCEMENT




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                                              42
                        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 50 of 54
Schedule A to Complaint
  Client     Date              Stock         Transaction   No. of Shares      Price       Commissions     Net Proceeds
   CSCT    02/07/14            NHPI              Deposit       20,000,000
   CSCT    02/26/14            NHPI               Sell        (3,000,000)      $0.0050        $697.11       $14,302.89
   CSCT    03/04/14            NHPI               Sell          (156,282)      $0.0059          $75.00          $789.06
   CSCT    03/06/14            NHPI               Sell        (1,000,000)      $0.0078         $116.70        $7,500.76
   CSCT    03/10/14            NHPI               Sell          (110,000)      $0.0276          $75.00        $2,867.53
   CSCT    03/11/14            NHPI               Sell          (587,000)      $0.0296         $260.36       $16,790.86
   CSCT    03/12/14            NHPI              Deposit       40,000,000
   CSCT    03/12/14            NHPI               Sell          {368,116)      $0.0297         $164.00       $10,559.15
   CSCT    03/13/14            NHPI               Sell        (1,244,200)      $0.0268         $499.98       $32,285.72
   CSCT    03/14/14            NHPI               Sell        (1,406,027)      $0.0235         $494.57       $31,935.76
   CSCT    03/17/14            NHPI               Sell          {500,000)      $0.0113           $84.83        $5,570.04
   CSCT    03/17/14            NHPI               Sell          (500,000)      $0.0113           $84.83        $5,439.52
   CSCT    03/17/14            NHPI          Cancel Sell          500,000      $0.0113         ($84.83)      ($5,570.04)
   CSCT    03/20/14            NHPI               Sell          (335,000)      $0.0109           $75.00        $3,472.64
   CSCT    03/24/14            NHPI               Sell          (700,000)      $0.0083           $87.47        $5,610.24
   CSCT    03/25/14            NHPI               Sell          (238,100)      $0.0071           $75.00        $1,549.10
   CSCT    03/26/14            NHPI               Sell          (620,000)      $0.0071           $75.00        $4,209.06
   CSCT    03/27/14            NHPI               Sell        (2,076,816)      $0.0051         $160.12       $10,308.65
   CSCT    03/28/14            NHPI               Sell        (3,248,600}      $0.0049         $239.75       $15,457.55
   CSCT    03/31/14            NHPI               Sell        (2,500,000)      $0.0050         $187.88       $12,103.27
   CSCT    04/01/14            NHPI               Sell        (1,166,000)      $0.0051           $88.67        $5,688.44
   CSCT    04/02/14            NHPI               Sell          (743,859)      $0.0042          $75.00         $2,978.55
   CSCT    04/17/14            NHPI               Sell       {20,000,000}      $0.0026        $1,048.00      $50,519.14
   CSCT    05/06/14            NHPI               Sell       (15,000,000)      $0.0015          $462.90      $22,288.70
   CSCT    05/07/14            NHPI               Sell        (5,000,000)      $0.0014          $139.00        $6,660.89


                      Total No. of Shares Sold                               60,000,000

                        Total Net Proceeds                                  $263,317.48

                        Total Commissions                                     $5,181.34
                        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 51 of 54
Schedule B to Complaint
  Client    Date              Stock          Transaction    No. of Shares     Price       Commissions     Net Proceeds

   CSCT    02/07/14           VPLM               Deposit        9,318,000
   CSCT    02/20/14           VPLM                Sell           (180,000)      $0.201       $1,037.68      $35,412.32
   CSCT    02/20/14           VPLM                Sell           (470,000)      $0.201       $1,930.87      $92,539.13
   CSCT    02/24/14           VPLM                Sell         (1,500,000)      $0.200       $5,300.92     $294,699.08
   CSCT    02/27/14           VPLM                Sell           (200,000)      $0.195        $731.38       $38,268.62
   CSCT    02/28/14           VPLM                Sell           (280,000)      $0.194       $1,001.45      $53,318.55
   CSCT    03/10/14           VPLM                Sell           (360,000)      $0.191       $1,031.40       $67,501.70
   CSCT    03/10/14           VPLM                Sell           (320,000)      $0.191         $916.80       $59,996.43
   CSCT    03/12/14           VPLM                Sell           (505,000)      $0.186       $1,405.16       $91,972.51
   CSCT    03/12/14           VPLM           Cancel Sell          505,000       $0.186      ($1,405.16)     ($91,972.51)
   CSCT    03/12/14           VPLM                Sell           {430,000)      $0.186       $1,405.16       $78,097.75
   CSCT    03/17/14           VPLM                Sell           (400,000)      $0.175        $1,050.00      $68,948.45
   CSCT    03/17/14           VPLM                Sell           (400,000)      $0.175       $1,050.00       $68,702.75
   CSCT    03/17/14           VPLM           Cancell Sell         400,000       $0.175      ($1,050.00)     ($68,948.45)
   CSCT    03/26/14           VPLM                Sell           (500,000)      $0.175        $1,312.50      $85,889.86
   CSCT    03/28/14           VPLM                Sell           (350,000)      $0.176         $924.00       $60,453.93
   CSCT    03/31/14           VPLM                 Sell          (500,000)       $0.185       $1,387.50      $90,814.75
   CSCT    05/06/14           VPLM                 Buy             30,000        $0.150         $90.13       ($4,636.48)
   CSCT    04/02/14           VPLM                 Sell          {350,000)       $0.170        $892.50       $58,385.48
   CSCT    04/04/14           VPLM                 Sell          (500,000)       $0.171       $1,282.50      $83,919.91
   CSCT    04/09/14           VPLM                 Sell        (1,000,000)       $0.172       $2,576.25     $168,624.25
   CSCT    04/11/14           VPLM                 Sell          (200,000)       $0.171        $513.00       $33,540.54
   CSCT    05/05/14            VPLM                Sell          (200,000)       $0.142        $566.00       $27,587.67
   CSCT    06/05/14           VPLM                 Sell          (100,000)       $0.148        $295.50       $14,433.47
   CSCT    06/06/14           VPLM                 Sell             (2,500)      $0.296         $75.00          $623.68
   CSCT    06/09/14           VPLM                 Sell          (128,448)       $0.286        $733.70       $35,840.31
   CSCT    06/09/14            VPLM           Cancel Sell        128,448         $0.286       ($733.70)     ($35,840.31)

                      Total No. of Shares Sold                  7,812,500
                        Total Net Proceeds                  $1,408,173.39
                        Total Commissions                     $24,320.54
                        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 52 of 54
Schedule C to Complaint
  Client    Date               Stock         Transaction   No. of Shares    Price      Commissions    Net Proceeds
   CSCT    06/11/14            ORFG              Deposit      13,280,000
   CSCT    06/11/14            ORFG               Sell          (500,000)    $0.0156        $155.60       $7,461.82
   CSCT    06/12/14            ORFG               Sell          (500,000)    $0.0144        $144.30       $6,916.62
   CSCT    06/13/14            ORFG               Sell          (798,400)    $0.0142        $226.43      $10,879.10
   CSCT    06/16/14            ORFG               Sell          (250,000)    $0.0140        $75.00        $3,316.87
   CSCT    06/17/14            ORFG               Sell          (244,898)    $0.0148         $75.00       $3,442.10
   CSCT    06/23/14            ORFG               Sell          (250,000)    $0.0158         $78.80       $3,756.31
   CSCT    06/24/14            ORFG               Sell        (1,050,000)    $0.0156       $327.60       $15,760.63
   CSCT    06/27/14            ORFG               Sell        (2,060,000)    $0.0150        $617.59      $29,752.23
   CSCT    06/30/14            ORFG               Sell          (750,000)    $0.0141        $210.75      $10,122.75


                      Total No. of Shares Sold                6,403,298
                        Total Net Proceeds                   $91,408.43
                        Total Commissions                     $1,911.07
       Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 53 of 54


                 FINANCIAL INDUSTRY REGULATORY AUTHORITY
                        OFFICE OF HEARING OFFICERS


DEPARTMENT OF ENFORCEMENT,

                     Complainant,

 v.
                                                 DISCIPLINARY PROCEEDING
SCOTTSDALE CAPITAL ADVISORS                      NO. 2014041724601
CORPORATION
(CRD No. 118786),

JOHN J. HURRY                                    Hearing Officer -
(CRD No. 2146449),
                                                 CERTIFICATE OF SERVICE
TIMOTHY B. DIBLASI
(CRD No. 4623652),

and

D. MICHAEL CRUZ
(CRD No. 2450344),
                     Respondents.

       I hereby certify that on this 15th of May 2015, I caused a copy of the foregoing Notice of

Complaint, Complaint and Schedules A, B and C to be sent as follows:


Via FedEx Overnight, First Class Mail          Via FedEx Overnight, First Class Mail and
and Email to: kharnisch@steptoe.com            Email to: grussello@sidley.com

Kevin J. Harnisch, Esq.                        Gerald J. Russello
Steptoe & Johnson LLP                          Sidley Austin LLP
1330 Connecticut Avenue, NW                    787 Seventh Ave.
Washington, DC 20036                           New York, NY 10019

(Counsel for Respondents Scottsdale Capital    (Counsel for Respondents Scottsdale Capital
Advisors Corp., John J. Hurry, Timothy B.      Advisors Corp., Timothy B. DiBlasi and D.
DiBlasi and D. Michael Cruz))                  Michael Cruz)
        Case 8:16-cv-00860-DKC Document 3-4 Filed 03/22/16 Page 54 of 54
Dept. of Enforcement v. Scottsdale Capital Corp., et al., No. 2014041724601
Certificate of Service
Page 2


Via FedEx Overnight and Email to:
OHOCaseFilings@finra.org
FINRA Office of Hearing Officers
1735 K Street, NW, 2nd Floor
Washington, DC 20006
                                       ________________________________________
                                       Gloria Galvan
                                       Litigation Paralegal Specialist
                                       FINRA Department of Enforcement
                                       300 South Grand Avenue, 16th Floor
                                       Los Angeles, CA 90071
